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UNITED STATES DISTRICT
FOR THE EASTERN DISTRICT ()F MICHIGAN
SOUTHERN DIVISION
BRUCE MEYERS;
KALLIE ROESNER-MEYERS;
and EUGENIA CALOCASSIDES,

Plaintiffs,
v.

Case No.: 17-cv-10623
k Honorable Denise Page Hood
Magistrate Judge David R. Grand

VILLAGE OF OXFORD, a Michigan
v home-rule village;
JOE YOUNG, in his personal and official
Capacity as Village Manager of the Village
Of ()Xford;
SUE BOSSARDET, in her personal and
Official capacity as President of the Village
Of Oxford; and
MICHAEL SOLWOLD, in his official
Capacity only as the Acting Police Chief of
The Village of OXford;
ROBERT CHARLES DAVIS, in his
personal and official capacity as an
administrative officer (Village Attorney) of
The Village of Oxford,

Defendants.
OUTSIDE LEGAL COUNSEL PLC
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Attorney for Plaintiffs
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(888) 398-7003 - fax
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DEFENDANTS’
RESPONSE

IN OPPOSITION

TO THE PLAINTIFFS’
MOTION TO DISOUALIFY
ATTORNEY

ROBERT CHARLES DAVIS
AND HIS LAW FIRM

;A_N__D_

CERTIFICATE
_QI*_`_§_E.B.V._.LQ_E.

Robert Charles Davis (P40155)
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The Defendants for their Response ln Opposition To The Plaintiffs’ Motion
To Disqualify Attorney Robert Charles Davis And His LaW Firm rely upon their
attached Brief in Support.
The» Defendants hereby request that this Honorable Court enter an Order:
(1) Denying the Plaintiffs’ Motion to Disqualify Defendants’ Counsel; and
(II) AWarding the Defendants costs and attorney fees for having to respond to
this Motion; and
(lll) Granting such other relief in favor of the Defendants as this Honorable
Court deems just, equitable and appropriate under the circumstances

presented

By: /s/ Robert Charles Davis
ROBERT CHARLES DAVIS (P40155)
Attorney For Defendants
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Mt. Clernens, MI 48043

' (586) 469-4300
Dated: March 31, 2017 (586) 469-43 03 -~ Fax

rdavis@dbsattorneys.com

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CERTIFICATE OF SERVICE

Robert Charles Davis states that, on March 31, 2017, he caused a copy of
the Defendants Response In Opposition To The Plaintiffs’ Motion To
Disqualify Attorney Robert Charles- Davis And His Law Firm to be
electronically filed With this Court through the ECF system Which Will send

notification to counsel of record.

By: /s/ Robert Charles Davis
ROBERT CHARLES DAVIS (P40155)
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UNITED STATES DISTRICT
F()R THE EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

BRUCE MEYERS;
KALLIE ROESNER-MEYERS;
and EUGENIA CALOCASSIDES, y

Plaintiffs, Case No.: 17-cv-10623
v. Honorable Denise Page Hood

Magistrate Judge David R. Grand

VILLAGE OF OXFORD, a Michigan
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Capacity as Village Manager of the Village
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Of Oxford; and
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The Village of OXford;
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administrative officer (Village Attorney) of
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Defendants.

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DEFENDANTS’ BRIEF

IN SUPPORT OF THEIR
RESPONSE

IN OPP()SITI()N

T() THE PLAINTIFFS’
MOTION TO DISQUALIFY
ATTORNEY

ROBERT CHARLES DAVIS
AND HIS LAW FIRM

A_N__D.

CERTIFICATE
_Q_E_§EB_Y_LQ_E_

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I. CONCISE STATEMENT OF THE ISSUE PRESENTED

A. Should this Court Grant the Plaintiffs’ Motion To
Disqualify Attorney Robert Charles Davis as Counsel for
the Defendants?

Plaintiffs say: “Yes”

Defendants say: “No”

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II. STATEMENT ()F THE CONTROLLING AND/OR MOST
APPROPRIATE AUTHORITY

The Defendants rely on MJK Familv LLC v. Corporate Eagle
Management Services, Inc., 676 F.Supp.2d 584, 592 (E.D.Mich.,2009) (Exhibit
1) and MRPC 3.7 (Exhibit 2) for their statement of the most controlling authority.

III. STATEMENT OF THE STANDARD OF REVIEW

This District Court stated, in MJK Family LLC v. Corporate Eagle
Management Services, Inc., 676 F.Supp.Zd 584, 592 (E.D.Mich.,2009), that a
motion to disqualify an attorney is a legitimate tool to protect the integrity of
judicial proceedings However, because the ability to deny one’s opponent the
services of capable counsel is a potent weapon, courts “must be vigilant” in
reviewing a disqualification motion. (Exhibit 1 -- MJK Family LLC v.
Corporate Eagle Management Services, Inc., 676 F.Supp.Zd 584, 592
(E.D.Mich.,2009).)

This District Court stated, in MJK Family LLC1 that a court “niust balance”
the interest of the court and the public in upholding the integrity of the legal
profession against the right of a party to retain their counsel of choice. (Exhibit 1
~- MJK Familv LLC v. Corporate Eagle Management Services, Inc., 676
F.Supp.2d 584, 592 (E.D.Mich.,2009).) According to this District Court, the
movant seeking the disqualification of an opposing counsel bears the burden of

proving that the opposing counsel should be disqualified A decision to disqualify

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a counsel must be based on a factual inquiry which allows for appellate review but

an evidentiary hearing is not required

“The movant bears the burden of proving that opposing
counsel should be disqualified S.D. Warren Co. v. Dujj”-
Norton, 302 F.Supp.2d 762, 767 (W.D.Mich.2004). A decision
to disqualify counsel must be based on a factual inquiry
conducted in a manner allowing appellate review, but an
evidentiary hearing is not necessarily required General Mll
Supply Co. v. SCA Servs., 697 F.2d 704, 710 (6th Cir.l982).”

(Exhibit 1 -- MJK Familv LLC v. Corporate Eagle
Management Services, Inc., 676 F.Supp.2d 584, 592
(E.D.Mich.,2009).) (Emphasis Added)

The Michigan Rules of Professional Conduct at MRPC 3.7 state that a lawyer shall

not act as an advocate at a trial in which the lawyer is likely to be a necessary

witness:

“(a) A lawyer shall not act as advocate at a trial in which
the lawyer is likely to be a necessary witness except where:

(1) the testimony relates to any uncontested issue;

(2) the testimony relates to the nature and value of legal
services rendered in the case; or

(3) disqualification of the lawyer would work substantial
hardship on the client.

(b) A lawyer may act as advocate in a trial in which another
lawyer in the lawyer's firm is likely to be called as a witness
unless precluded from doing so by Rule 1.7 or Rule 1.9.”
(Exhibit 2 ~- MRPC 3.7) (Emphasis Added)

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- The Michigan Court of Appeals has ruled that the purpose of MRPC 3.7 is not to
permit an opposing party to seek disqualification of an opposing counsel as a

tactical device to gain an advantage

“Michigan courts have observed that the purpose of the rule is
to prevent any problems that would arise from a lawyer's
having to argue the credibility and the effect of his or her own
testimony, to prevent prejudice to the opposing party that might
arise therefrom, and to prevent prejudice to the client if the
lawyer is called as an adverse witness, not to permit the
opposing party to seek disqualification as a tactical device to
gain an advantage sz`th v. Arc»-Mation, Inc., 402 Mich. 115,
119, 261 N.W.Zd 713 (1978); Kubiak v. Hurr, 143 Mich. App.
465, 471, 475, 372 N.W.2d 341 (1985).” (Exhibit 3 -- People
v. Tesen, 276 Mich. App. 134, 143; 739 N.W.Zd 689, 694
(2007).) (Emphasis Added)

There is no basis to disqualify the Defendants’ Counsel in this matter.
IV. STATEMENT ()F THE RELEVANT AND CONTROLLING FACTS
On January 6, 2017, John Turk of the Gakland Press published a newspaper
article that stated there was a newly created mounted police and color guard unit in
OXford, Michigan.
“A newly created mounted police and color guard unit in
OXf`ord will represent Oakland County and the state with
an expected 8,000 participants in President-elect Donald
Trump’s inaugural parade on Jan. 20.” (Exhibit 4 --
Oakland Press January 6, 2017 Article) (Emphasis Added)

The news article raised issues with the Village of Oxford Council.

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On January 10, 2017, the Village of Oxford Council conducted a regularly
scheduled meeting With respect to the agenda item at issue, the matter was

introduced as follows.

“MS. BOSSARDET: Okay. T he next thing We have is the
mounted police division. I don’t’ know who wants to star.
Mike? Okay. . . .

MR. DAVIS: -- maybe you should - the issue that the Village
Council President has placed on the agenda under the name of
mounted police is the Village Council wants to have a
discussion isolated to whether or not this mounted police
division has been authorized or properly formed by
approval of the Village council, which l think is a separate
issue ~“ (Exhibit 5 -- Village Council Transcript Dated
January 10, 2017 at p. 2) (Emphasis Added)

The Village Council addressed its Police Chief to clarify the issues in the
newspaper articles. The Village Council also addressed the Village Manager to
clarify the same issues. In this public meeting, some of the Plaintiffs voluntarily
asked to spe'ak. Plaintiff, Bruce Meyers, stated on the record that they were not
representing themselves as the Village of Oxford police mounted unit. _"l_`_hi_§

admission is instructive and dispositive

“MR. MEYERS: Bruce Meyers, Oxford. One of the things l
never heard clarified was When we have been representing
ourselves we haven’t been saying we are OXford, Village of
Oxford police mounted unit. Now there was a jump in the
paper that John, John Turk made and he came up with that
conclusion, but that’s not something that we had ever said
We’ve been very careful not to make that connection, not until
everything was approved So there needs to be that distinction
We, we were not representing ourselves as Village of

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Oxford police mounted unit.” (Exhibit 5 -- Village Council
Transcript Dated January 10, 2017 at p. 49) (Emphasis Added)

Bruce Meyers further stated, on the record, that they are a mounted unit but have
not claimed any connection to the Village of Oxford According to Bruce Meyers,
when he read the newspaper article which made that connection he cringed. He
could have asked for a retraction but he was hoping that it would just settle down.

Again, this admission is instructive and dispositive

“We are a mounted unit but we’ve never claimed
connection yet. We would like to have that connection in the
future but we’ve been very careful not to do that. When I read
that connection that John Turk made in the Oakland Press
I cringed. lt’s like oh shoot, that’s not supposed to be like that.
And I suppose we could have a retraction but that would just
draw in more attention to it. I was hoping that that would j_t_l§t
settle down.” (Exhibit 5 -- Village Council Transcript Dated
January 10, 2017 at p. 49) (Emphasis Added)

Bruce Meyers further stated that they have been very careful not to say that they
are Village of Oxford Police mounted division because they are not authorized yet.
Again, this admission is instructive on the dispositive question before this Court.

“MR. MEYERS: But that’s why we’ve been very careful not
to say that we are Village of Oxford Police mounted

b division. Like l said, l cringed when 1 saw that, that Joe Turk
made that jump. It’s like - or John Turk from the Oakland
Press. Its’ like I knew that that Was not appropriate that’s why
we’ve been very careful not to make that connection We’re
not authorized yet. Hopefully one day we will be l would
like to help the community. The feedback I get as Lone Ranger-
for the community is phenomenal.” (Exhibit 5 ~- Village
Council Transcript Dated January 10, 2017 at p. 55) (Emphasis
Added)

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At the conclusion of this agenda item, the following motion was made and passed

by the Village of Oxford Council:

“MS. B()SSARDET: Um-hum. Thank you. I move that the
Village attorney immediately initiate notices, letters, and
communications making it clear that the Oxford villagg
Council has not reviewed, approved, authorized,
sanctioned or otherwise allowed any mounted police
division, reserve or otherwise in the Village of Oxford. The
persons involved should be notified to cease any and all
activities wherein there is a representation of any kind that they
are part of the Village of OXford Police Department in any way.
By example only the motion requires a legal communication to
the Michigan Jurisdictional _ Multi~Jurisdictional Mounted
Division respectively making it clear that these individuals do
not represent the Village of Oxford in anyway and are not
associated with the Village of Oxford in any way. Further, all
uniforms, patches, equipment, or any other items provided these
individuals by the Village of Oxf`ord shall be immediately
retrieved Also, and as a core component of this motion, 1 am
asking that the Village Manager and the Police Chief cooperate
fully in this regard and that neither take any additional actions
to promote any affiliation between these individuals and the
Village of Oxford Nothing in this motion prevents this issue
from being presented to this Council, Village Council, at a
future meeting wherein the Village Council has an
opportunity to review prior to a meeting all of the issues
and potentially act according_y.” ‘(Exhibit 5 -- Village
Council Transcript Dated January 10, 2017 at p. 56-57)
(Emphasis Added)

During the public meeting, one Village of Oxford Councilperson did ask
Police Chief Neymanowski whether he was aware of allegations that one or more
of the Plaintiffs have falsely portrayed themselves as police officers while

conducting an unauthorized investigation of a missing person.

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“MR. DOLAN: Are you aware that there are allegations these
participants have falsely portrayed themselves as police officers
while conducting an unauthorized investigation of a missing
person recently, yes or no?

CHIEF NEYMANOWSKI: I’ve heard something about they
were at a festival.

MR. DOLAN: Did you know that the Oakland County
Sheriff’s Department investigated this matter as a criminal
matter, yes or no?” (Exhibit 5 -- Village Council Transcript
Dated January 10, 2017 at p. 20) (Emphasis Added)

There was a prior investigation ~- in fact there were two (2) prior
investigations Oakland County Sheriff’ Office Case Report CR No 160148298
relates to the investigation of false personation of police officer. The noted
suspects are: Eugenia Calocassides, Bruce Carl Meyers, and Kallie Kay Roesner-
Meyers (Exhibit 6) Those are the Plaintiffs here

On January 13, 2017, and in accordance with the January 10, 2017 Motion
on this agenda item, Defendants’ Counsel sent a communication to the Plaintiffs
which advised the Plaintiffs that the Village of Oxford does not have an approved

mounted police force, division, reserve unit, drill squad or team.

“The purpose of this letter is to advise you each on the
following:

1 The Village of OXford does not, at this time, have an
approved mounted police force, division, reserve unit, drill
squad or team. . . .” (Exhibit 7 -- Defendants Counsels’

January 13, 2017 Correspondence) (Emphasis Added)

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On February 27, 2017, the Plaintiffs filed the above captioned suit. (Exhibit
8 -- Court’s Docket #1) The Plaintiffs Amended Complaint was filed on March 8,
2017, (Exhibit 8 -- Court’s Docket #7) On March 15, 2017, attorney Robert
Charles Davis (“Defendants’ Counsel”) filed his appearance with this Court on
behalf of all Defendants. (Exhibit 8 -- Court’s Docket # 9)

On March 15, 2017, the Plaintiffs’ Counsel sent correspondence to
Defendants’ Counsel accusing him of violating l\/fRPC 3.7 and demanding that he
withdraw his appearance (Exhibit 9 -- Ellison Correspondence) Gn March 16,
2017, Defendants’ Counsel provided Plaintiffs’ Counsel with ethics opinions
located at Rl-136, RI-297, R1-281, Rl-299, Rl-264, Rl-226, RI~106 on this issue
(Exhibit 10 -- Davis Correspondence) On March 19, 2017, the Plaintiffs’ Counsel
filed a Motion to Disqualify the Defendants Counsel.

IV. LEGAL ARGUMENTS
A. Defendants’ Counsel Has Not Violated MRPC 3.7

The Michigan Rules of Professional Conduct at MRPC 3.7 state that a
lawyer shall not act as an advocate at a trial in which the lawyer is likely to be a
necessary witness This District Court has examined MRPC 3.7 and noted that
MRPC 3.7(a) generally prohibits a lawyer from acting as an advocate at a trial in

which he is likely to be a necessary witness

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“E. Disqualification Under MRPC 3.7 is Premature, at Best

12 Plaintiffs also argue that disqualification is mandated by
MRPC 3.7. Rule 3.7(a) generally prohibits a lawyer from
acting as an advocate at a trial in which he is likely to be a
necessary witness. But Rule 3.7(b) permits an attorney to act
as an advocate at trial where a fellow partner is likely to be a
witness, except where precluded from doing so by Rules 1.7 or
1.9.” (Exhibit 1 -- MJK Family LLC v. Corporate Eagl_e
Management Services, Inc., 676 F.Supp.2d 584, 600
(E.D.Mich.,2009).) (Emphasis Added)

This District Court further noted, in MJK Family LLCz that despite the fact that
the attorney was a necessary witness and may be disqualified from acting as trial
counsel, MRPC 3.7 did not require a complete disqualification This applies here

“Plaintiffs contend that Mr. Wysocki is likely a necessary
witness, a fact which Defendants appear to concede Plaintiffs
further claim that the entire firm must be disqualified on the
basis of Mr. Wysocki’s status as a key witness As explained in
Dalrvmple, “[allthough er. Wysockil may well be
disqualified from acting as trial counsel, the rule does not
require his complete disqualification at this point.” 615
F.Supp. at 990. Having found that Rules 1.7 and 1.9 do not
mandate disqualification, l hold that another KSWB lawyer
may serve as trial counsel-in the event trial becomes
necessary.” (Exhibit 1 -- MJK Family LLC v. Corporate
E§gle Management Services, Inc., 676 F.Supp.2d 584, 600
(E.D.Mich.,2009).) (Emphasis Added)

This District Court’s ruling in MJK Family is consistent with the State Bar of

Michigan’s Ethics Opinion RI.-226.

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1. Ethics Opinion RI-226 Is Directlv On Point.
State Bar of Michigan Ethics Gpinion RI-226 states that a lawyer who is
going to be a necessary witness concerning a contested fact may not serve as the
advocate _a_t____t_i_'_i_al. However, a lawyer who is going to be a necessary witness

concerning a contested fact is not prohibited from taking the case, from negotiating

with parties, or from performing trial preparation

“A lawyer who is going to be a necessary witness concerning a
contested fact may not serve as the advocate at trial, i.e., as the
person who presents evidence and argument or otherwise
participates as a spokesperson for the client in open court.

A lawyer who is going to be a necessary witness concerning
a contested fact is not thereby prohibited from taking the
case, from negotiating with parties, or from performing
trial preparation

References: MRPC 3.7(a); `f€;i~l`:té, 81~57; Qi~l l 18; ABA Op 89-
1529.” (Exhibit 11 -- Michigan State Bar Ethics Opinion RI-
226) (Emphasis Added)

According to Michigan State Bar Ethics Opinion RI-226, MRPC 3.7(a) does
not disqualify a lawyer from a case MRPC 3.7(a) only prohibits the lawyer from
performing as an advocate at trial, which is but one portion of representation
According to RI~226 a lawyer is not prohibited from taking the case, from
negotiating with parties, or from performing trial preparation

“On its face, MRPC 3.7(a) does not disqualify the lawyer
from the case, The rule only prohibits the lawyer from

performing as advocate at trial, z'.e., one portion of the
expected representation The lawyer is not prohibited from

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taking the case, from negotiating with parties, or from
performing trial preparation ABA Op 89-1529. ln § 1-1 1 18,
we concluded that a lawyer/accountant serving as counsel in a
divorce case need not withdraw as counsel in order to serve as
an expert witness on behalf of the client, where co~counsel, a
trial lawyer who is not in any way affiliated with the counsel's
law firm, will serve as sole advocate in open court. Although

l that opinion was decided under former Michigan Code of
Professional Responsibility DR 5~101(13), the opinion noted
ABA Model Rule of Professional Conduct 3.7 (identical to
MRPC 3.7) in reaching its decision "Advocate," for purposes
of the Rule, was defined as "a person who presents evidence
and argument or otherwise participates as a spokesperson for
the client in open court."” (Exhibit 11 -- R1226 Opinion)
(Emphasis Added)

The Defendants Counsel has not violated MRPC 3.7. The Defendants
Counsel, at a minimum, is free to represent the Defendants up and until the date of
Trial. There is no violation of MRPC 3.7.l
B. The Defendants’ Counsel Has Not Violated MRPC 1.7 Or MRPC 1.`10.

The Plaintiffs’ Counsel raises the issue of MRPC 1,7 and MRPC 1.10 in
terms of a conflict. Defendants Counsel is aware of MRPC 1.7 (Exhibit 14) and a
conflict waiver agreement to address the issue is attached at Exhibit 15 (“Conflict
Waiver”). lt states, in relevant part, the following:

“The undersigned, after consultation, hereby waives any
conflict under MRPC 1.7 with respect to Attorney Robert
Charles Davis appearing and defending the interests of all

Defendants in the above-captioned litigation matter.”
(Exhibit 15 -- Conflict Waiver) (Emphasis Added)

 

1The Defendants also attach Michigan State Bar Ethics Opinions R1-297 (Exhibit
12) and Rl~299 (Exhibit 13) for the same proposition/position

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This argument fails accordingly.

C. Fed. R. Civ. P. 15

Plaintiffs’ Counsel raises the procedural issue of Fed. R. Civ. P. 15. That

Rule states, in relevant part, the following:
“(a) Amendments Before Trial.

(1) Amending as a Matter of Course. A party may amend its
pleading once as a matter of course within:

(A) 21 days after serving it, or

(B) if the pleading is one to which a responsive pleading is
required, 21 days after service of a responsive pleading or
21 days after service of a motion under Rule 12(b), (e), or
(f), whichever is earlier.

(2) Other Amendments. In all other cases, a party may amend its
pleading only with the opposing party's written consent or the
court’s leave The court should freely give leave when justice so

requires

(3) T ime to Respond. Unless the court orders otherwise, any

required response to an amended pleading must be made within

the time remaining to respond to the original pleading or within

14 days after service of the amended pleading, whichever is

later.” (Exhibit 16 -- Fed. R. Civ. P. 15) (Emphasis Added)
A recent version of this Court’s Docket is attached at Exhibit 8. According to this
Court’s Docket, the Plaintiffs’ Complaint was filed on February 27, 2017,
(Exhibit 8 -- Court’s Docket #1) The Plaintiffs Amended Complaint was filed on

March 8, 2017, (Exhibit 8 -~ Court’s Docket #7) Although the pleadings were

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sent to the press, the Complaint and Amended Complaint were not served on the
Defendants until March 20, 2017. (Exhibit 8 -- Court’s Docket # ll)

This Court’s Docket is clear that the Plaintiffs’ Amended Complaint was
filed with this Court before the original Complaint was served on any of the
Defendants This is a violation of Fed. R. Civ. P. 15 .

V. CONCLUSIONS AND RELIEF REOUESTED
The Defendants hereby request that this Honorable Court enter an Order:
(l) Denying the Plaintiffs’ Motion to Disqualify Defendants’ Counsel; and
(ll) Awarding the Defendants costs and attorney fees for having to respond to
b this Motion; and
(III) Granting such other relief in favor of the Defendants as this Honorable
Court deems just, equitable and appropriate under the circumstances
presented
By: /s/ Robert Charles Davis
RGBERT CHARLES DAVIS (P40155)
Attorney F or Defendants
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(586) 469-4300

Dated: March 31, 2017 (5 86) 469-43 03 _ Fax
rdavis@dbsattorneys.com

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CERTIFICATE OF SERVICE

Robert Charles Davis states that, on March 31, 2017, he caused a copy of
the Defendants Brief In Support Of` Their Response In Opposition To The
Plaintiffs’ Motion To Disqualify Attorney Robert Charles Davis And His Law
Firm to be electronically filed with this Court through the ECF system which will

send notification to counsel of record

By: /s/ Robert Charles Davis
R()BERT CHARLES DAVIS (P40155)
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